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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                      :      CHAPTER 7
                                            :
SHARON MARIE WINSTON,                       :      CASE NO. 15-66160-JRS
                                            :
         Debtor.                            :
                                            :


 MOTION FOR ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE AND
   DEBTOR UNDER RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY
                           PROCEDURE


         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Sharon Marie Winston (“Ms. Winston”), by and through

undersigned counsel, and files this Motion for Order Authorizing Settlement Between Trustee

and Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement

Motion”). In support of the Settlement Motion, Trustee respectfully shows the Court as follows:

                                   Jurisdiction and Venue

         1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion is a core

proceeding under 28 U.S.C. § 157(b)(2).

                                          Background

         2.    On August 25, 2015 (“Petition Date”), Ms. Winston filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy



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Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), Chapter 7

Case No. 15-66160-JRS (the “Bankruptcy Case”).

         3.     Trustee was appointed and remains the duly acting Chapter 7 Trustee for the

Bankruptcy Estate.

         4.     On September 30, 2015, Trustee conducted and concluded the meeting of

creditors, held under 11 U.S.C. § 341 (a).

         5.     On Ms. Winston’s Schedule A – Real Property, Ms. Winston scheduled an

interest in that certain real property with a common address of 1117 Berry Hill Drive, Lithonia,

GA 30058 (the “Property”) with a scheduled interest in the property of $102,200.00. [Doc. No.

1 at Page 14 of 43]. Upon information and belief, Ms. Winston owns a one-half interest in the

Property.

         6.     On Ms. Winston’s Schedule D – Creditor’s Holding Secured Claims, Ms.

Winston scheduled a claim by Wells Fargo for $106,000.00 secured by the Property. [Doc. No. 1

at Page 19 of 43].

         7.     Ms. Winston has not claimed an exemption in the Property, but Trustee has

determined that the Bankruptcy Estate’s interest (the “Interest”) in the Property has a value of

approximately $10,000.00 to $15,000.00 after accounting for: (a) the costs of a sale (i.e.,

broker’s commission); (b) Ms. Winston’s available but unclaimed exemption; (c) litigation with

the co-owner under Section 363(h); and (d) payment to the Wells Fargo for its first position

security interest.

         8.     On Ms. Winston’s Schedule B – Personal Property, Ms. Winston scheduled an

interest in a Whole Life Insurance Policy (Policy No. xxx-282-239) (the “Policy”) with a value

of $15,000.00, and she scheduled an alleged interest in a 401k account (the “ Alleged 401k”)



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with a value of $15,000.00. [Doc. No. 1 at Pages 15-16 of 43].

         9.    Pursuant to Schedule C - Property Claimed as Exempt (“Schedule C”), Ms.

Winston claimed an exemption in the cash value of the Policy in the amount of $8,230.00 under

O.C.G.A. § 44-13-100(a)(6) (the “Life Insurance Exemption”).

         10.   Trustee has determined that the current cash value of the Policy is $32,143.90

(“Cash Value”). As a result, the current non-exempt value of the Policy for the Bankruptcy

Estate is $23,913.90.

         11.   Ms. Winston also claimed an exemption in the Alleged 401k of $15,000.00 under

O.C.G.A. § 44-13-100(a)(2.1) (the “401k Exemption”).

         12.   Ms. Winston would like to waive and disclaim her Life Insurance Exemption in

exchange for the Trustee’s abandoning the Interest in the Property such that the full amount of

the Cash Value shall be free for Trustee to distribute to holders of valid, timely filed claims

under 11 U.S.C. § 726.

                                   The Proposed Settlement

         13.   Following negotiations, Trustee and Ms. Winston (collectively, the “Parties”)

have entered into a settlement agreement to resolve the issues raised by Trustee as to Ms.

Winston’s claimed exemptions (the “Exemption Issues”). A true and correct copy of that

agreement is attached to this Settlement Motion and incorporated herein by reference as Exhibit

“A” (the “Settlement Agreement”). The material terms of the Settlement Agreement follow:1

                  a. Within five (5) business days of the Settlement Approval Order becoming
                     final, Ms. Winston shall liquidate or reduce (the “Liquidation”) to money
                     the Policy and transfer (the “Transfer”) to Trustee $32,143.90
                     (“$32,143.90 in Cash”) from the cash value of the Policy by delivering a

1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the terms of the Settlement Agreement shall control.


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                      check to Trustee in the amount of $32,143.90 in good funds made payable
                      as follows “S. Gregory Hays, Trustee (Winston)”. Following the Transfer,
                      Trustee and Ms. Winston stipulate and agree that the $32,143.90 in Cash
                      shall be property of the Bankruptcy Estate and be free and clear of any
                      claim by, or interest of, Ms. Winston.2

                   b. Effective upon the Settlement Approval Order becoming final, Ms.
                      Winston waives any and all obligations that the Bankruptcy Estate may
                      otherwise have to pay to Ms. Winston on account of exemptions asserted
                      by or on behalf of Ms. Winston, if any, in the Cash Value of the Policy.
                      For avoidance of doubt, within ten (10) business days of the Settlement
                      Approval Order becoming final, Ms. Winston shall amend her claimed
                      exemptions (the “Exemption Amendment”) to claim a $0.00 exemption
                      in the Cash Value of the Policy.

                   c. The Parties stipulate and agree that Ms. Winston shall not have a claim
                      under Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for
                      or on account of the Transfer, or for any reason, and that neither Ms.
                      Winston nor any of her affiliates, agents, or principals shall receive a
                      distribution from the Bankruptcy Estate.

                   d. The Property shall be deemed abandoned upon the later of: (a) Trustee’s
                      receipt in full of the Transfer in the amount of $32,143.90 from Debtor in
                      good funds; or (b) the Settlement Approval Order becoming final.

                                        Relief Requested

         14.   Trustee requests an order from the Bankruptcy Court approving the Settlement

Agreement.

                                         Basis for Relief

         15.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.



2      Capitalized terms not defined in this Settlement Motion shall have the meanings ascribed
to them in the Settlement Agreement.

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959 (1990), in which the Eleventh Circuit stated as follows:

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).3

         16.   The proposed settlement between Trustee and Ms. Winston is the product of

arm’s-length negotiations and reflects the Parties’ analysis and consideration of the relevant

legal, factual, and economic issues.

         17.   Given the potential time and expense of litigating the Exemption Issues, and the

contingent nature of the same, in the event that the claims that are proposed to be settled are

instead prosecuted, the amount of time that such litigation will require, the delay before the final

outcome is known, and the complexity and uncertain resolution of factual and legal disputes,

settlement on the terms described in the Settlement Agreement is a proper exercise of Trustee’s

business judgment and in the best interests of the Bankruptcy Estate. The proposed Settlement



3
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.

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Agreement allows the Bankruptcy Estate to avoid the costs of a sale of the Property and litigation

with the co-owner under Section 363(h). In summary, the proposed Settlement Agreement

represents an advantageous result for the Bankruptcy Estate and clearly falls within the range of

reasonableness required under Justice Oaks. And, Trustee estimates that the proposed settlement

will allow him to make a meaningful distribution to unsecured creditors.

         18.    Under the standard set forth above and for the reasons previously detailed in this

Settlement     Motion,    Trustee    requests   that   the   Bankruptcy    Court    approve    the

Settlement Agreement.

         WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order:

         a)     granting this Settlement Motion;

         b)     authorizing Trustee to take actions reasonably necessary to effectuate the terms of

                the Settlement Agreement; and

         c)     granting to Trustee such other and further relief as the Court deems just and

                appropriate.

         Respectfully submitted, this 4th day of February, 2020.

                                                       ARNALL GOLDEN GREGORY LLP
                                                       Attorneys for Trustee

                                                       By:/s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
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                             EXHIBIT “A” FOLLOWS




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                                 CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement Between
Trustee and Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class
United States Mail on the following persons or entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555
Atlanta, GA 30305

Sharon Marie Winston
1117 Berryhilll Drive
Lithonia, GA 30058

Lauren A. Drayton
The Semrad Law Firm, LLC
303 Perimeter Center North, #201
Atlanta, GA 30346

         This 4th day of February, 2020.

                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709




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